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 1 LAW OFFICES OF CHRIS COSCA
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   1007 7 Street, Suite 210
 3 Sacramento, CA 95814
   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        2:13-CR-00302 MCE
11
                                    Plaintiff,        STIPULATION REGARDING EXCLUDABLE
12                                                    TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                      ORDER
13
     JAMES RANDOLPH SHERMAN,                          DATE: May 5, 2016
14                                                    TIME:  10:00 a.m.
                                    Defendant.        COURT: Hon. Morrison C. England, Jr.
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17
                                                 STIPULATION
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           1.       By previous order, this matter was set for status on May 5, 2016.
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           2.       By this stipulation, the parties now move to continue the status conference to
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     June 23, 2016, and to exclude time between May 5, 2016 and June 23, 2016, under Local
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     Code T4.
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           3.       The parties agree and stipulate, and request that the Court find the following:
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                    a)    Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                    b)    Defense counsel is currently in trial and desires additional time to review
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            discovery and to confer with his client concerning discovery, investigation, potential
      STIPULATION TO CONTINUE STATUS CONF             1
            Case 2:13-cr-00302-MCE Document 96 Filed 05/06/16 Page 2 of 3


 1        options for the defense and trial preparation.

 2                c)      Counsel for defendant believes that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5                d)      The government does not object to the continuance.

 6                e)      Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the defendant

 8        in a trial within the original date prescribed by the Speedy Trial Act.

 9                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10        § 3161, et seq., within which trial must commence, the time period of May 5, 2016 to

11        June 23, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

12        B(iv) [Local Code T4] because it results from a continuance granted by the Court at

13        defendants’ request on the basis of the Court’s finding that the ends of justice served by

14        taking such action outweigh the best interest of the public and the defendant in a

15        speedy trial.

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     STIPULATION TO CONTINUE STATUS CONF            2
                Case 2:13-cr-00302-MCE Document 96 Filed 05/06/16 Page 3 of 3


 1         4.       Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
 4         IT IS SO STIPULATED.

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     Dated: April 28, 2016                                BENJAMIN B. WAGNER
 6                                                        United States Attorney
 7
                                                          /s/ JASON HITT
 8                                                        JASON HITT
                                                          Assistant United States
 9                                                        Attorney
10
     Dated: April 28, 2016                                /s/ Chris Cosca
11
                                                          CHRIS COSCA
12
                                                          Counsel for Defendant
13                                                        JAMES SHERMAN

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15
                                                   ORDER
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           IT IS SO ORDERED.
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     Dated: May 5, 2016
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      STIPULATION TO CONTINUE STATUS CONF             3
